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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA

 

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ORDER |] DATE FILED: A]velee2o
v. Vee Sn See
20 Cr. 233 (JFK)
MILESH TALREIJA,
Defendant.

 

 

WHEREAS, with the defendant’s consent, his guilty plea allocution was made

before a United States Magistrate Judge on March 26, 2020;

WHEREAS, a transcript of the allocution was made and thereafter was transmitted
to the District Court; and

WHEREAS, upon review of that transcript, this Court has determined that the
defendant entered the guilty plea knowingly and voluntarily and that there was a factual basis for

the guilty plea;

IT IS HEREBY ORDERED that the defendant’s guilty plea is accepted.

Dated: New York, New York

Op bl. 7 , 2020
pois Te Keenan

HONORABLE JOHN F. KEENAN
UNITED STATES DISTRICT JUDGE

SOUTHERN DISTRICT OF NEW YORE

 
